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DANIEL E. LUNGREN, Attorney General
of the State of California

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Attorneys for Defendants

UNITED STATES DISTRICT COURT -) or

NORTHERN DISTRICT OF CALIFORNIA

 

JOHN ARMSTRONG, et al., No. C-94-2307 CW

Plaintiffs, STIPULATION AND ORDER

Vv. AMENDING PLAINTIFF CLASS
PETE WILSON, et al.,

Defendants.

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It is hereby stipulated between defendants Pete Wilson,
Governor of California, Thomas Maddock, Secretary of the
California Youth and Adult Corrections Agency, Cal Terhune,
Director of the California Department of Corrections, Susann
Steinberg, M.D., Deputy Director of the Health Care Services
Division, and all other defendants, by their counsel Daniel E.
Lungren, Attorney General of California, James Humes, Deputy
Attorney General and plaintiffs John Armstrong, and all other
members of the plaintiff class, by their counsel Prison Law
Office, Donald Specter, Rosen, Bien & Asaro, Michael Bien,
McCutchen, Doyle, Brown and Enersen, Warren George, Disability
Rights and Education Defense Fund, Elaine Feingold, that:

hove Defendants’ agree that all Findings and

STIPULATION AND ORDER AMENDING PLAINTIFF
CLASS

 
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Recommendations and Orders issued in this action apply to
prisoners and conditions at the California Medical Facility at
Vacaville ("CMF") and that this Court has jurisdiction and power
to issue relief and orders concerning CMF to the same extent as
the Court has jurisdiction and power to do so as to any other
California prison;

2. The Order Certifying the Class filed in this case on
January 13, 1995, shall be amended. Lines 19 and 20 on page
three of the order shall be deleted. As amended, the newly
constituted class is described as follows:

The plaintiff class shall consist of all present and
future California state prisoners and parolees with mobility,
sight, hearing, learning and kidney disabilities that
substantially limit one or more of their major life activities.

Date: ee [ 6 ; Lagos

Agreed:

Attorneys.for ee

Drll pede

DONALD SPECTER / 1 Reg
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Attorneys for Defendants:

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DANIEL EXJLUNGREAU

Attorney General

PETER J. SIGGINS

Senior Asst. Attorney General

STIPULATION AND ORDER AMENDING PLAINTIFF
CLASS

 

 
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ORDER

Based upon the foregoing stipulation of the parties,
and good cause appearing, the Order certifying the Class in this
case shall be amended.

IT IS HEREBY ORDERED that the plaintiff class shall
consist of all present and future California state prisoners and
parolees with mobility, sight, hearing, learning and kidney
disabilities that substantially limit one or more of their major

life activities.

Dated: INEC 24 7998

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breeds. Ooyt) —
CLAUDIA WILKEN “/
United States District Judge

STIPULATION AND ORDER AMENDING PLAINTIFF
CLASS

 
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DANIEL E. LUNGREN State of California
Attorney General DEPARTMENT OF JUSTICE
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(415) 356-6000

 

FACSIMILE: (415) 356-6070
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December 23, 1998

Honorable Claudia Wilke E C E \ V E R

United States District Judge Ai
United States District Court DEO 23 1998" C+"

Northern District of California w. Wi yieKINe '
1301 Clay Street, Suite 400 SRIcH APD DISTRICT Sirona

Oakland, CA 94612-5212 yospemvosTncls

RE: Armstrong, et al. v. Wilson, et al.
USDC ND Case No. C-94-2307-CW

Dear Judge Wilken:

Enclosed is a stipulation and order that incorporates inmates with mobility
impairments at the California Medical Facility into the plaintiff class in this case. As you
will recall, the order certifying the class in this case expressly excluded this sub-class of
inmates. See Order Certifying the Class, dated January 13, 1995. One of the main reasons
this sub-class was excluded was because it was already represented in another class action
suit, Gates v. Gomez, No. CIV S-87-1636 LKK JFM (E.D. Cal.).

In June 1998, the parties in Gates entered into an agreement that specified, among
other things, that the enclosed stipulation would be filed in Armstrong upon dismissal of
Gates. Gates was dismissed on December 21, 1998.

 
   
 

Thank you.
Sincerely,
DANIEL E. LUNGREN
Attorney General
JA wez

JAMES M. HUMES
Deputy Attorney General

Encl.

ect Don Specter

Michael Bien
Case 4:94-cv-02307-CW Document 342 Filed 12/24/98 Page 5 of5
